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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

U.S. BANK N.A., AS TRUSTEE FOR  §
THE REGISTERED HOLDERS OF       §
MASTR ASSET BACKED SECURITIES   §
TRUST, 2006-AM1, MORTGAGE PASS- §
THROUGH CERTIFICATES, SERIES    §
2006-AM1                        §
                                §
    Plaintiff,                  §                          Civil Action No. 4:22-cv-3499
                                §
v.                              §
                                §
VENISSA FORD A/K/A VENISSA      §
MOSLEY, JASON MOSLEY, QUINTEN §
TYLER, CHERYL AHAMBA, BERNAL §
LINDSEY, BERMOINE LINDSEY, JR., §
DESTINY ROSS, JERMOINE LINDSEY, §
ELAINE JACKSON A/K/A ELAINE     §
JACKSON LINDSEY, AS NEXT-       §
FRIEND OF A.L., A MINOR, ADRAIN §
LINDSEY, MARCUS LINDSEY, AND    §
DIANA LINDSEY                   §
                                §
    Defendants.                 §

                              JOINT NOTICE OF SETTLEMENT

          COME NOW, Plaintiff U.S. Bank N.A., As Trustee for the Registered Holders of

MASTR Asset Backed Securities Trust, 2006-AM1, Mortgage Pass-Through Certificates, Series

2006-AM1 (“U.S. Bank” or “Plaintiff”) and Defendant Diana Lindsey, as Independent Executor

of the Estate of Leal Lindsey (“Defendant”) (collectively, the Parties”) and file this their Joint

Notice of Settlement and respectfully show the Court as follows:

                                                I.

          The Parties respectfully notify the Court that they have reached a resolution of this

matter.    The Parties are currently working to finalize their settlement agreement and need



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additional time to effectuate the terms of the settlement including the sale and closing of the

property at issue in this lawsuit. As part of the terms of settlement, the Parties have agreed to

submit dismissal documents to this Court. To that end, the Parties request the Court place this

case on its disposition docket in sixty (60) days.

                                                        Respectfully submitted,

                                                      By: /s/ Crystal G. Gibson
                                                        CRYSTAL G. GIBSON
                                                        LEAD COUNSEL
                                                        Texas Bar No. 24027322
                                                        Southern District Admission #706039
                                                        cgibson@mwzmlaw.com

                                                        JOHN M. GREGORY
                                                        Texas Bar No. 24138787
                                                        Southern District Admission #3869561
                                                        jgregory@mwzmlaw.com

                                                     MACKIE WOLF ZIENTZ & MANN, P.C.
                                                     14160 North Dallas Parkway, Suite 900
                                                     Dallas, TX 75254
                                                     Telephone: 214-635-2650
                                                     Facsimile: 214-635-2686

                                                     ATTORNEYS FOR PLAINTIFF



                                                      By: /s/ Mark A. Carrigan - signed with
                                                      permission
                                                          MARK A. CARRIGAN
                                                          Texas Bar No. 03875200
                                                          eservice@carriganlawgroup.com
                                                      CARRIGAN LAW GROUP, P.C.
                                                      3100 Timmons Lane, Suite 210
                                                      Houston, Texas 77027
                                                      Telephone: 713-337-3950
                                                      Facsimile: 888-858-2140

                                                      ATTORNEY FOR DEFENDANT




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                              CERTIFICATE OF SERVICE

       The undersigned certifies that on the March 18, 2025, a true and correct copy of the
foregoing document was delivered via ECF notification to the party listed below:

          Mark A. Carrigan
          3100 Timmons Lane, Suite 210
          Houston, Texas 77027
          Phone: 713-337-3950 / Fax: 888-858-2140
          Email: eservice@carriganlawgroup.com
          Attorney for Defendant Diana Lindsey, as
          Independent Executor of the Estate of Leal Lindsey


                                               /s/ Crystal G. Gibson
                                               CRYSTAL G. GIBSON




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